                                                                Case 1:20-cv-02405-EGS Document 102-1 Filed 11/07/20 Page 1 of 2




       Extra Trips
       Extra Trips (Network & Local - HCR & PVS):
         • No. of Extra Trips by Division
     Division           10/1 10/2 10/3 10/4 10/5 10/6 10/7 10/8 10/9 10/10 10/11 10/12 10/13 10/14 10/15 10/16 10/17 10/18 10/19 10/20 10/21 10/22 10/23 10/24 10/25 10/26 10/27 10/28 10/29 10/30 10/31   11/1 11/2 11/3 11/4 11/5
     CHESAPEAKE           59 64 42 26 66 52 67 60 71                    86 200 144        86    78    68    70    67    52    74    70    68    87    81    91    49 105      76    91    83 100      90     86 88 76 68 70
     COASTAL SOUTHEAST   131 117 101 120 139 123 111 134 133 211 310 269 173 149 170 177 162 127 177 142 163 184 174 154 115 165 175 159 162 156 290                                                        238 184 141 110 143
     ISC                   7    4    3    2    3 11      8 12      8     3     5     5     5     9     5     4     2     3     1     2     4     4     5     4     1           3     4     4     4     3      1    1    3    5    3
     LAKESHORES           35 31 24 32 47 54 42 56 53                    34    62 141      82    91    71    75    72    38    74    71    76    85    92    50    65    96    91    95    87    86    73    176 79 88 78 67
     MID-ATLANTIC         20 29 38 42 45 30 28 30 39                    49 198 119        66    59    70    44    37    54    61    48    50    46    60    52    66    94    67    84    95    64 179      184 89 76 62 61
     MID-SOUTH            38 38 16 36 46 44 34 50 40                    21    74 100      49    48    43    31    21    39    48    56    50    47    48    32    39    66    44    62    58    46 198      132 44 44 54 58
     MIDWEST              30 34 29 53 44 39 49 53 47                    25 121      88    68    54    32    37    33    41    45    36    61    48    43    28    43    51    44    52    56    45    44    119 47 46 44 43
     NEW ENGLAND          30 25 24 49 46 26 34 36 42                    41    49    95    62    49    39    54    63    65    71    35    46    39    40    70    64    72    42    60    44    68    80     88 50 56 41 34
     NEW YORK METRO       22 28 20 16 21 30 31 33 33                    18    46    94    80    52    41    44    44    50    40    38    41    37    43    38    29    38    35    48    43    43    39     49 63 82 51 51
     PACIFIC NORTHWEST    35 32 50 22 48 28 36 40 45                    68 174 211        75    50    48    38    45    39    64    26    24    32    36    47    46    40    24    32    35    46    74    135 29 21 19 14
     SOUTHERN CALIFORNIA 23 28 30 21 68 35 34 29 32                     35 117 247        62    36    63    53    55    33    57    44    54    38    29    33    24    35    26    30    24    33    59     56 38 29 29 16
     SOUTHWEST            32 35 12 27 18 15 26 28 37                    32 114 141        45    26    32    30    33    54    39    24    34    26    37    40    66    56    28    38    46    37 121      141 43 32 40 34
     STC                  44 54 53 39 59 47 51 46 43                    48    80    49    58    67    59    36    65    43    48    58    47    59    53    58    47    47    48    48    53    46    44     20 41 45 43 30
     WESTSHORE            20 15 21 22 31 23 22 22 17                    18    44    46    24    15     9    36    28    17    40    13    19    19    21    31    18    26    21    32    27    32    29     36 34 28 32 29
     Grand Total         526 534 463 507 681 557 573 629 640 689 1594 1749 935 783 750 729 727 655 839 663 737 751 762 728 672 891 724 835 817 806 1323                                                    1461 830 767 676 653




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11/7/2020
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       Trips On Time
       Trips On Time (Network & Local - HCR &PVS):
         • No. of Late Trips by Division
     Division                10/1   10/2   10/3   10/4   10/5   10/6   10/7   10/8   10/9 10/10 10/11 10/12 10/13 10/14 10/15 10/16 10/17 10/18 10/19 10/20 10/21 10/22 10/23 10/24 10/25 10/26 10/27 10/28 10/29 10/30 10/31 11/1   11/2   11/3   11/4   11/5
     CHESAPEAKE               154    157    109     92    130    153    156    204    280 171      60 149 305 273 301 392 223 173 316 347 377 394 428 309 236 402 383 421 471 491 269 246                                             386    375    402    367
     COASTAL SOUTHEAST        189    157    123    105    178    201    185    215    417 208      88 114 298 351 378 426 233 256 387 377 371 357 420 218 291 317 412 453 419 461 223 200                                             400    367    387    442
     ISC                       11     16     11      7      8     10     19     12     10    13     4     4     6    12    13    13    16     9    10    14    13    14    10    18     8     9     9    12    19    19    18    8     14     19     20     16
     LAKESHORES               165    197    110     84    197    182    184    172    246 146      63 145 316 264 322 292 165 168 289 279 247 359 314 139 140 288 265 289 323 338 181 167                                             320    314    290    268
     MID-ATLANTIC              96    111     67     54    111    130    155    135    174    87    72    67 181 205 154 174 119 102 147 153 129 147 182 120 123 156 143 174 199 202 169 133                                           259    214    197    164
     MID-SOUTH                209    261     82    191    224    191    185    193    260    84    77 190 250 235 279 296 141 207 181 254 190 173 221                            65 189 186 230 224 262 297 128 186                   186    231    218    236
     MIDWEST                   36     35     29     27     34     36     38     24     66    23    20    27    68    77    57    48    23    39    50    44    44    55    74    35    36    58    75    55 104      73    62 43       59     62     49     57
     NEW ENGLAND               78     77     63     80    100    106     86    109    180    94    62    96 186 147 146 188            78 116 128 101 121 141 161                78 123 136 138 139 128 155 117 112                   107    140    132     74
     NEW YORK METRO            70     74     68     41    112    121    100    100    110    91    40    51 132 127 128 107 122              61    75 109 100 126 107            90    65 102 109 117 102 146 100 45                  148    178    135    112
     PACIFIC NORTHWEST         37     50     24     19     54     56     53     31     40    21     9    25    63    78    60    76    24    33    52    58    43    34    45    12    20    40    38    41    54    34    29 16       46     67     40     70
     SOUTHERN CALIFORNIA       58     72     27     41     70     81     79     56    106    38    12    34    86    91    80    73    46    26    70    75    76    83    60    35    29    65    52    70    60    74    31 34       57     75     69     45
     SOUTHWEST                 98    111     39     68     75    115    118     98    159    58    50    80 128 161 150 135            69    84 125 154 143 131 208              97 143 151 181 173 157 245 103 119                   147    193    155    146
     STC                      128    162    134    116     96    210    206    192    214 178 112        63 137 227 236 222 203 135 111 198 202 231 214 183 145                              78 231 209 158 174 139 102                76    217    224    211
     WESTSHORE                 91    117     73     65    132    130    100    135    145    85    35    49 144 127 185 163 121 118 177 145 141 215 219 125                            71 158 173 117 187 201 142 89                  154    125    134    154
     Grand Total             1420   1597    959    990   1521   1722   1664   1676   2407 1297 704 1094 2300 2375 2489 2605 1583 1527 2118 2308 2197 2460 2663 1524 1619 2146 2439 2494 2643 2910 1711 1500                          2359   2577   2452   2362




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